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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES – GENERAL


Case No.        8:23-cr-00123-DOC-1                                                          Date: February 3, 2025


Present: The Honorable:     DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

Interpreter       n/a
                 Karlen Dubon                        Debbie Hino-Spaan                     Alexandra Julia Sloan Kelly
                   Deputy Clerk                     Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)          Present Cust    Bond                Attorneys for Defendants:              Present        App   Ret

  1) RENE RODRIGUEZ                X                X                 Terra Castillo Laughton,                   X          X
                                                                      DFPD


PROCEEDINGS:               SENTENCING

         Also present, USPO Hannah Roberts.

         Case is called.

         Sentencing hearing is held.

         Portions of these proceedings are ordered SEALED by the Court.

         Detailed Judgment and Commitment Order to issue.




cc: USPPO, BOP, FISCAL


                                                                                                                     1:22
                                                                         Initials of Deputy Clerk           kdu




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